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                                                                         * *n                    c
                                                                                                     .



                              IN TH E DISTRICT COU RT IN AND FOR          AFq C3 2012
                             THE SOUTHERN D ISTRICT OF FLORIDA
                                                                         t'll!l/!pqh;':3::****'*''
                                        M IA M I,FLORIDA                         uak- cT.
                                                                                    *




   TIKD SERV ICES,LLC                                  )
                                                       )
                Plaintiff,                             )
                                                       )Casenumber:l7-24103-Civ -
                                                       )Cooke/Goodman
                                                       )
   THE FLO RID A BAR,                                  )
   M ICHAEL J.HIGER ,                                  )
   JO HN F.H ARKN ESS,JR.,                             )
   LORIS.HOLCOM B,                                     )
   JACQUELYN P.NEEDELM AN,                             )
   GOLD & A SSOCIATES,P.A .                            )
   M A RK S.GO LD                                      )
   TED L.HO LLAND ER;                                  )
   RO BERT A ZCA N O,                                  )
   JEFFERY R .LO TTER,                                 )
   RO BERT R.W ILLHO IT                                )
                                                       )
                D efendants.                           )
                                                       )


        M EM OM NDUM OF LAW IN SUPPORT OF RULE 24 (b)(1)(B)M OTION TO
                       INTERV ENE OF A NTH ON Y ELA DIO M M O S




         COM ES NO W Anthony Eladio Ram os,pro se,and filesthisM em orandum ofLaw in

   SupportofRule24(b)(1)(B)M otiontoIntervene,pursuanttotheFederalRulesofCivil
   Procedure,and states:
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                      STATEM ENT O F TH E CA SE A ND O F TH E FA C TS



          This m atterisbefore thisCourtby the parties.

          The intervenorfollow ing thism atterforcom m on questionsof1aw and fact,reviewed the

   Statem entoflnterestoftheU .S.Attorney General,and also the Response to sam e,ofThe

   Florida Bar.

          U pon such review,the intervenoridentified significantcom m on questionsof law and

   fact,asw ellassignificantdiscrepanciesin the argum entsbeing m ade by TheFlorida Bar,when

   compared w ith the holdingsby the Eleventh CircuitCourtofAppeals,in hism atter.

          A stheintervenor'scase m ay be re-filed,and w illbe,those discrepancies,ifrelied upon

   bythisCourt,couldresultinaprejudicialruling,notonlyasto TIKD,butalsoassamemay
   affectthe intervenor'sm atter.

          Forthese reasons,the intervenorhasfiled a m otion to intervene.




                                ISSUE :W H ETH ER TH IS CO URT
                                SH O U LD GR ANT TH E M O TIO N
                                        TO IN TERVENE
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                                           A RG UM EN T



           Rule24(b)(l)(B)oftheFederalRulesofCivilProcedure,allow apermissiveintervenor
   into a m attcr,w hen there are com m on questionsoflaw and fact.

          ln thism atter,TIKD ,the U .S.Attorney hasfiled a Statem entoflnterest,w herein the

   overriding question iswhetherthiscourt,in ruling on the m otion to dism iss ofthe defendants,

   shoulditnzleinfavorofthedefendants,shoulddismissthismatter(withprejudice.'
          The Florida Barhasfiled a Response,alleging in num erousplaces,that,since the

   intervenor'smatterwasdismissedatthetrialleveltwithprejudice,'TIKD shouldbesimilarlyso
   dism issed.

          The Florida Bar,however,w ould have thisCourtreversethe tw o holdingsby the

   Eleventh CircuitCourtofAppeals,m ostrecently specifically reiterating thatthe intervenor's

   matterisdismissedçwithoutprejudice.'
          Further,com m on questionsoffactappearin that,asthe intervenorexplains,in hisinitial

   pleadings,hispreoccupation w asw ith a forensicreconstruction ofthem annerin which secret

   filescam e to be created by The Florida Bar,and how thatentity,and others,m anaged to destroy,

   secretly,fileswhich w ere notsecret,to wit:hispublic disciplinary files.Counts l and 2 failed,

   therefore,because the intervenordid notdevelop the necessary allegations offactto trigger

   ShermanActjurisdiction.TheU.S.Attorneyappearstobemakingthatdevelopment.
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                                          CERTIFICATE O F SERV ICE

   lHZREBY CERTIFY thaton this29th day ofM arch,2018 theoriginalofthisdocumentwas
   m ailed to:the Clerk ofCourt,United States DistrictCourtforthe Southern DistrictofFlorida,
   400 N orth M iam iAvenue,8th FloorM iam i,Florida 33128,and thata copy w asem ailed to:
   Ram ön A .A badin,Esquire,Sedgw ick,LLP,Co-counselforPlaintiff,
   l'almonxabadint
                 Wi,scdvysszicklassr.ctllll,
                                           'PeterD .Kennedy,Esquire,Graves,Dougherty,P.C .,
   Co-counselforPlaintiff,pkellllcdyzlki.     ,qydhm scoln,
                                              l           'RobertJ.Kuntz,Esquire,Devine Goodm an,
   LLP,rkuntztp.
               h
               .desrineyroodl
               ?            nan.colla,Co-counselforPlaintiff;StevenJ.Mintz,MakanDelrahim,
   Andrew C.Finch,K ristin C.Lim arzi,and RobertB.N icholson,A ssistantA ttorneysGeneral/
   U.S.DepartmentofJustice/AntitrustDivision,c/o Stev,     een.:'
                                                                lintz/
                                                                     tp.
                                                                       l
                                                                       atlsdo/h,gtlv,
                                                                                    ',
                                                                                     'Kevin W .Cox,
   Esquire,keNr
              'in.coxfr
                      iy'hklttvkv.cl
                                   nlll,ShannonVeasey,Esquire,shannon.veasey@hklamcom,Jerome
   W .H offm an,Esquire,,l         'el'olnc.hol'   l-
                                                    nlalpfx'
                                                           k'
                                                            ap
                                                             laklasNr
                                                                    'pcoln,and Dom inic C.M acKenzie,Esquire,
   Clonns'.lzlttekellzier#llzk'lt   plN.
                                       ,.ctllr,Holland & Knight,LLP,and M arkenzy Lapointe,Esquire,
   llaarkellzl/xlalnc'intet:?  alnillsbtlrx -- l
                                             -
                                               avsz
                                                  '.ctllla,Co-counselfordefendants,TheFloridaBar,M ichaelJ.
   H iger,John F.H arkness,LoriS.H olcom b and and Jacquelyn P.N eedelm an'                    ,and,Chris Kleppin,
   Esquire,cklcppink        .il
                              -gkcm ploy    ,' m entlavv.corn;Steven 1.Peretz,Esquire,Peretz,Chesal&
   H errm ann,P.L.,spcl'        etzt -kl,
                                        lnch-iplasNzacolll,  'Gregg D.Thom as,Esquire,y.th()l))as(#t
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                                                                                                                       u,
                                                                                                                        '
   Jam es J.                          y                                                           -
               McGuire,Esqulre,jmcgtrirctàtlolaw'tirm.com;and,AllisonK.Simpson,Esquire,
   Ctsinlpsonr  xkà
                  -r
                   ,tlolflqNf
                            'frlzakcom ,CounselforG old and Associates,P.A .;Ted L.Hollander,Robert
   A zcano,Jeffery R .Lotter,and RobertW illhoit.




                                                               ony E1a ' am o ,pro se
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   by the intervenorin hism otion,he isthe person with the m ostknowledge ofhis case,and ofthe

   ultim ate two prevailing victoriesthathehasachieved in the Eleventh CircuitCourtofAppeals.

   Rule 24 providesforhisintervention in TIK D.



                                          CO N CLUSIO N




                               RESPECTFU LLY SU BM ITTED ,




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